     Case 2:24-cv-09275-ODW-MAA       Document 1      Filed 10/28/24   Page 1 of 8 Page ID #:1




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8                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
9

10     CHENFAN JI,                                  ) Case No.: 2:24-cv-09275
                Plaintiff,                          )
11
            vs.                                     ) COMPLAINT FOR PATENT
12     THE PARTNERSHIP OR                           ) INFRINGEMENT
13
       UNINCORPORATED ASSOCIATION                   )
       IDENTIFIED ON SCHEDULE “A” and               ) DEMAND FOR JURY TRIAL
14     AMAZON.COM, INC.,                            )
15              Defendants                          )
16

17           Plaintiff Chenfan Ji (“Plaintiff”) files this complaint against the Partnership or
18     Unincorporated Association Identified on Schedule A attached hereto (the “Schedule A
19     Defendant”) and Amazon.com, Inc. (“Amazon.com”) (the Schedule A Defendant and
20     Amazon.com herein collectively, “Defendants”).
21                                   NATURE OF THE ACTION
22        1. This is an action for patent infringement arising under the Patent Laws of the
23           United States, 35 U.S.C. § 1 et seq., seeking damages and other relief under 35
24           U.S.C. § 281, et seq. In particular, this is an action for patent infringement against
25           the Defendants for infringing U.S. Patent No. D965,668 (the “’668 Patent”). A true
26           and accurate copy of the ‘668 Patent is attached hereto as Exhibit 1.
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                                              COMPLAINT - 1
     Case 2:24-cv-09275-ODW-MAA      Document 1     Filed 10/28/24    Page 2 of 8 Page ID #:2




1                                          THE PARTIES
2        2. Plaintiff Ji is an individual who is a citizen and resident of the People’s Republic of
3           China.
4        3. Upon information and belief, the Schedule A Defendant is an individual or
5           business entity of unknown makeup who own and/or operate one or more of the e-
6           commerce stores under the seller alias identified in Schedule A attached hereto.
7           Upon information and belief, the Schedule A Defendant resides and/or operates in
8           the People’s Republic of China or other foreign jurisdiction(s). The Schedule A
9           Defendant has the capacity to be sued pursuant to F.R.C.P. 17(b).
10       4. Tactics used by the Schedule A Defendant to conceal its identity and the full scope
11          of its operation make it virtually impossible for Plaintiff to discover the Schedule
12          A Defendant’ true identity and the exact interworking of its network. If Plaintiff
13          obtain additional credible information regarding the Schedule A Defendant’s
14          identity, Plaintiff will take appropriate steps to amend this Complaint.
15       5. Upon information and belief, Defendant Amazon.com is a Delaware corporation
16          with its principal place of business at 410 Terry Avenue North, Seattle, WA,
17          98109. Defendant Amazon.com may be served through its registered agent
18          Corporation Service Company at 300 Deschutes Way SW Ste 208 MC-CSC1,
19          Tumwater, WA, 98501.
20                                JURISDICTION AND VENUE
21       6. This Court has original subject matter jurisdiction over the claim(s) in this Action
22          pursuant to the Patent Laws of the United States, 35 U.S.C. § 1 et seq., including
23          35 U.S.C. § 271. 28 U.S.C. §§ 1331, 1338(a)-(b).
24       7. This Court has personal jurisdiction over the Defendants because each of the
25          Defendants has committed one or more of the infringing acts complained herein in
26          California and in this District. Upon information and belief, each of the Defendants
27          place infringing products in the stream of commerce with the knowledge,
28          understanding, and expectation that such products will be sold and/or used in



                                             COMPLAINT - 2
     Case 2:24-cv-09275-ODW-MAA       Document 1     Filed 10/28/24   Page 3 of 8 Page ID #:3




1           California and in this District. On information and belief, each of the Defendants
2           derives and continues to derive substantial revenue from the sale of infringing
3           products in this district in interstate and international commerce and expects its
4           action to have consequences in this District, which encompass a substantial portion
5           of the events giving rise Plaintiff’s claims.
6        8. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1400(b). For the
7           Schedule A Defendant, upon information and belief, the Schedule A Defendant
8           resides and/or operates in the People’s Republic of China or other foreign
9           jurisdiction(s). For Defendant Amazon.com, upon information and belief,
10          Defendant Amazon.com maintains and operates at least one office, warehouse,
11          and/or other regular and establish place of business in this District.
12                                  FACTUAL ALLEGATIONS
13       9. The ‘668 Patent, entitled “Annular Remote Control Photography Supplement
14          Lamp”, was filed June 3, 2020 and duly issued by the U.S. Patent and Trademark
15          Office on October 4, 2022. Plaintiff Ji is an inventor and owner of the ‘668 Patent
16          at all times during the Defendants’ infringements of the ‘668 Patent. The patented
17          design of the ‘668 Patent is shown below:
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                                              COMPLAINT - 3
     Case 2:24-cv-09275-ODW-MAA     Document 1    Filed 10/28/24   Page 4 of 8 Page ID #:4




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14       10.Defendant Amazon.com is an Internet-based retailer within the United States
15          through its e-commerce website https://www.amazon.com/ (“Defendants’ E-
16          Commerce Store”).
17       11.During the term of the ‘668 Patent, under listing B0CN79LVVH of Defendants’ E-
18          Commerce Store, Defendant Amazon.com offers for sale and sells in the United
19          States a product titled “Hagibis 21 inch Ring Light with Stand Outer 55W 5600k
20          Dimmable LED Light, Tripod Stand,and Phone Holder，Remote
21          Controller,Carrying Bag ，CRI 97+ 2540lux, for Streaming Home Office Zoom
22          Call Lighting” (“Amazon.com’s Infringing Product”).
23          (https://www.amazon.com/dp/B0CN79LVVH, accessed October 22, 2024). A true
24          and accurate copy of the listing for Amazon.com’s Infringing Product is hereto
25          attached as Exhibit 2. The design of Amazon.com’s Infringing Product is shown
26          below:
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                                           COMPLAINT - 4
     Case 2:24-cv-09275-ODW-MAA     Document 1    Filed 10/28/24   Page 5 of 8 Page ID #:5




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20       12.During the term of the ‘668 Patent, under listing B09GVSKVB8 of Defendants’ E-
21          Commerce Store, the Schedule A Defendant offers for sale and sells in the United
22          States a product titled “AMBITFUL KN-21C 21inch 53cm Dimmable
23          3000~6000K Bi-Color LED Ring Light with Tripod and Phone Holder,with
24          Remote, for Makeup, Selfie, Vlog, YouTube Video, Camera (2PCS)” (“Schedule
25          A Defendant’s Infringing Product”) (Amazon.com’s Infringing Product and
26          Schedule A Defendant’s Infringing Product herein collectively, the “Infringing
27          Products”). (https://www.amazon.com/dp/B09GVSKVB8, accessed July 25,
28          2024). A true and accurate copy of the listing for Schedule A Defendant’s



                                           COMPLAINT - 5
     Case 2:24-cv-09275-ODW-MAA      Document 1     Filed 10/28/24    Page 6 of 8 Page ID #:6




1           Infringing Product is hereto attached as Exhibit 3. The design of Schedule A
2           Defendant’s Infringing Product is shown below:
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21       13.In the eye of an ordinary observer, the Infringing Products and the design claimed
22          in the ‘668 Patent are substantially the same.
23       14.Upon information and belief, each of the Defendants imports and/or induces, aids,
24          or authorizes others to import the respective Infringing Products from the People’s
25          Republic of China or other foreign jurisdiction(s).
26       15.Defendants’ continued infringement of the Patent in connection with their offering
27          to sell, selling, and/or importing of the Infringing Products into the United States,
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                                             COMPLAINT - 6
     Case 2:24-cv-09275-ODW-MAA          Document 1   Filed 10/28/24   Page 7 of 8 Page ID #:7




1            including the offering for sale and sale of the Infringing Products into California,
2            irreparably harms Plaintiff.
3                                               COUNT I
4                              INFRINGEMENT OF THE ‘668 Patent
5         16.Plaintiff realleges and incorporates by reference the allegations set forth in the
6            preceding paragraphs.
7         17.Plaintiff is an owner of the ‘668 Patent during its entire term.
8         18.Defendants offer for sale, sell, and/or import into the United States for subsequent
9            resale or use the Infringing Products that infringe directly and/or indirectly the
10           ornamental design claimed in the ‘668 Patent.
11        19.Upon information and belief, Defendants have notice of the ‘668 Patent, and their
12           infringing acts are deliberate and intentional.
13        20.As a result of Defendants’ infringement of the ‘668 Patent, Plaintiff has been
14           irreparably injured, Unless such infringing acts are enjoined by this Court, Plaintiff
15           will continue to suffer additional irreparable injury.
16        21.As a result of Defendants’ infringement of the ‘668 Patent, Plaintiff has suffered,
17           and continues to suffer, damages.
18                                       PRAYER FOR RELIEF
19           WHEREFORE, Plaintiff Ji asks this Court to enter judgment against Defendants
20     and grant the following relief:
21        1. A declaration that Defendants have infringed and is infringing the ‘668 Patent and
22           a final judgment incorporation the same;
23        2. An order preliminarily enjoining Defendants and all persons and entities acting in
24           concert with Defendants, from infringing the ‘668 Patent;
25        3. An order and judgment permanently enjoining Defendants and all persons and
26           entities acting in concert with Defendants from infringing the ‘668 Patent;
27        4. An award to Plaintiff of total profits made by Defendants from their infringements
28           of the ‘668 Patents pursuant to 35 U.S.C. § 289, or actual damages sufficient to



                                               COMPLAINT - 7
     Case 2:24-cv-09275-ODW-MAA       Document 1     Filed 10/28/24   Page 8 of 8 Page ID #:8




1            compensate Plaintiff for Defendants’ infringement of the ‘668 Patent, together with
2            prejudgment and postjudgment interest under 35 U.S.C. § 284;
3         5. A declaration or order finding that Defendants’ infringements is willful and an
4            award to Plaintiff of enhanced damages, up to and including trebling of Plaintiff’s
5            damages pursuant to 35 U.S.C. § 284, for Defendants’ willful infringement of the
6            ‘668 Patent;
7         6. A judgment holding that this is an exceptional case under 35 U.S.C. § 285 and
8            awarding Plaintiff reasonable attorney fees, costs, expenses, and interest; and
9         7. Any and all other relief that this Court deems just and proper.
10                                         JURY DEMAND
11           Under F.R.C.P. 38, Plaintiff hereby demands trial by jury of all issues so triable by
12     a jury in this Action.
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       DATED October 28, 2024                          Respectfully submitted,
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                                                       By: /s/ Yiu F. Au
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19
                                                       Attorney for Plaintiff
20                                                     CHENFAN JI
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                                              COMPLAINT - 8
